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    6
         Warren Postman (pro hac vice)
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         Washington, D.C. 20005
    9    (202) 749-8334
   10
        Attorneys for Defendants/Cross-Petitioners
   11
   12                     UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   13
   14   POSTMATES INC.,                       ) Case No: 2:20-cv-02783-PSG
                                              )
   15                Plaintiff,               ) DECLARATION OF WARREN
   16                                         ) POSTMAN IN SUPPORT OF
               vs.                            ) CROSS-PETITIONERS’ MOTION
   17                                         ) TO COMPEL ARBITRATION
   18   10,356 INDIVIDUALS2,                  )
                                              ) Judge:     Hon. Philip S. Gutierrez
   19                Defendants.              ) Date:      July 20, 2020
   20                                         ) Time:      1:30 p.m.
                                              )
   21
        GREENWOOD, et al.,                    )
   22                                         )
                     Cross-Petitioners,       )
   23
                                              )
   24          vs.                            )
                                              )
   25
        POSTMATES INC.,                       )
   26                                         )
                     Cross-Respondent.        )
   27
                                              )
   28

                DECLARATION OF WARREN POSTMAN ISO MOTION TO COMPEL ARBITRATION
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    1         I, Warren Postman, declare based on personal knowledge as follows:
    2         1.      I am a Partner at Keller Lenkner LLC, counsel for Petitioners in this
    3   matter.
    4         2.      I have personal knowledge of the facts stated herein, and if called upon
    5   as a witness, I could and would testify competently thereto.
    6         3.      This declaration is submitted in support of Petitioners’ Motion to
    7   Compel Arbitration.
    8   A.    Postmates Refused to Arbitrate with More Than 5,000 Couriers, But Is
    9         Ordered to Arbitrate by the Federal Court in Adams v. Postmates.
   10         4.      In March 2019, Keller Lenkner first informed Postmates that it
   11   represented thousands of Postmates couriers who intended to file individual
   12   arbitration demands against the company. A true and correct copy of that initial
   13   communication is attached at WP009.
   14         5.      After unfruitful discussions with Postmates’s outside counsel, Keller
   15   Lenkner formally initiated arbitration by serving arbitration demands on the
   16   American Arbitration Association (“AAA”) and Postmates on April 22 and May 13,
   17   2019, on behalf of approximately 5,700 couriers (the “Adams Claimants”).
   18         6.      Based on my experience with arbitrations at the AAA and AAA’s rules
   19   and practices, it is my understanding that AAA will only invoice a respondent for
   20   filing fees after it determines that the claimant (1) has filed a demand that meets
   21   AAA’s requirements, and (2) has satisfied her filing fee obligation.
   22         7.      On May 10, 2019, AAA set May 31, 2019 as the deadline for Postmates
   23   to pay its share of the filing fees for the April demands. A true and correct copy of
   24   that email is attached at WP002. On June 6, 2019, AAA set June 6, 2019 as the
   25   deadline for Postmates to pay for the May demands. At true and correct copy of that
   26   email is attached at WP003.
   27         8.      Postmates ignored AAA’s payment determination for three weeks.
   28   Only on the night of AAA’s May 31 filing-fee deadline––some five weeks after the

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    1   April Adams Claimants had filed their demands—did Postmates object for the first
    2   time to the form, substance, and service of the demands. A true and correct copy of
    3   that letter is attached at WP004–06.
    4         9.      AAA rejected each objection as inconsistent with AAA rules, and
    5   confirmed that the Adams Claimants had met AAA’s filing requirements. A true and
    6   correct copy of a letter from the AAA dated June 7, 2019, confirming that “[t]he
    7   AAA determine Claimant has met the filing requirements under the Rules and Fee
    8   Schedule” is attached at WP007–08. A true and correct copy of an email from the
    9   AAA dated June 21, 2019 stating “[a]s previously advised, the AAA determined
   10   Claimant met the filing requirements under our Commercial Arbitration Rules, Rule
   11   R-4, and the Employment/Workplace Fee Schedule” is attached at WP009.
   12         10.     On June 21, 2019, having not received Postmates’s share of the filing
   13   fees necessary to commence arbitration, AAA administratively closed the Adams
   14   Claimants’ arbitrations. Id.
   15         11.     On June 3, 2019, the Adams Claimants filed a motion to compel
   16   arbitration against Postmates. On October 22, 2019, the Adams court granted the
   17   motion. See Adams v. Postmates, 414 F. Supp. 1246 (N.D. Cal. 2019) (Adams I).
   18         12.     For the few Adams Claimants for whom Postmates has paid the filing
   19   fees necessary to commence their arbitrations, Postmates was able to draft individual
   20   answering documents with over 10 pages per claimant detailing its specific defenses
   21   to each individual claimant’s claims. Those arbitrations are proceeding before
   22   individual arbitrators, and all hearings, briefing, and discovery has been limited to
   23   the individual claimant’s claims. Further, Postmates has not once moved to dismiss
   24   the claimant’s arbitration because the claimant’s demand for arbitration was an
   25   improper demand for class arbitration.        Postmates’s conduct in the individual
   26   arbitrations that have commenced demonstrates that Postmates is well aware that
   27   once it pays the individual fees to empanel individual arbitrations those arbitrations
   28   do in fact proceed in an individual manner.

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    1   B.    Petitioners File Demands for Arbitration Against Postmates, and AAA
    2         Determines Those Demands Meet Its Filing Requirements.
    3         13.     On September 24, 2019, while the Adams motion to compel was still
    4   pending, 357 Petitioners served individual demands against Postmates with the AAA
    5   (the “September Petitioners”).     On February 15, 2020, 4,933 Petitioners served
    6   individual demands against Postmates with the AAA (the “February Petitioners”).1
    7         14.     Petitioners demands followed the same format as those of the Adams
    8   Claimants. A true and correct copy of an example Adams demand is attached at
    9   WP010–11. A true and correct copy of an example demand from September 24,
   10   2019 is attached at WP012–13. A true and correct copy of an example demand from
   11   February 15, 2020 is attached at WP014–15.2
   12         15.     Just like the Adams Claimants, AAA determined that each Petitioner had
   13   met his or her individual filing requirements. As a result, under the applicable fee
   14   schedule, Postmates was obligated to pay $ 785,400 by October 21, 2019 for the
   15   commencement of the September Petitioners’ arbitrations and $2,220,400 by March
   16   16, 2020 for the February Petitioners.3
   17               • A true and correct copy of an email from AAA dated September 30,
   18                 2019 stating the September Petitioners had met their filing requirements
   19                 and setting October 21, 2019 as the filing fee deadline is attached at
   20                 WP016–17.
   21
              1
   22            Keller Lenkner served in total 1,250 demands for arbitration on September
        24, 2019, and 10,356 demands on February 15, 2020. But only 5,290 are Petitioners
   23   in this action.
               2
   24             All sample demands have been redacted to keep personal identifying
        information confidential, such as street address, phone number, and email address.
   25   Pending the Court’s Order on Petitioners’ Motion to Seal, ECF No. 41, Petitioners
        have      conditionally     filed   unredacted     versions     under    seal   at
   26   WP_UNREDACTED_010–15.
               3
   27            Because the total number of demands served is greater than demands served
        by Petitioners, the total amount AAA invoiced Postmates is greater than the amount
   28   Postmates owes for Petitioners’ arbitrations.
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    1               • A true and correct copy of an email from AAA dated November 1, 2019
    2                  stating “[w]e have made any administrative determination that the
    3                  minimum filing requirements have been met by” the September
    4                  Petitioners and noting November 4, 2019 as the new deadline for
    5                  Postmates to pay its fees is attached at WP018–19.
    6               • A true and correct copy of an email from AAA dated November 5, 2019
    7                  giving Postmates until November 6, 2019 to pay its fees for the
    8                  September Petitioners is attached at WP020.
    9               • A true and correct copy of an email from AAA dated February 24, 2020
   10                  stating the February Petitioners had met their filing requirements and
   11                  setting March 16, 2020 as the deadline for Postmates to pay its share of
   12                  the filing fees is attached at WP022–23. That email also emphasized
   13                  that AAA will not grant extensions to this payment deadline,” and that
   14                  because the arbitrations were “subject to California Code of Civil
   15                  Procedure 1281.97 and 1281.98” that “payment must be received by
   16                  April 15, 2020”—thirty days after the March 16 deadline—“or the AAA
   17                  may close the parties’ cases.”
   18         16.      On November 8, 2020, AAA confirmed that “Respondent has failed to
   19   submit the previously requested filing fees for these matters; accordingly, we have
   20   administratively closed our files.” A true and correct copy of that email is attached
   21   at WP021.
   22         17.      On April 20, 2020, AAA confirmed that other than the 100 claimants
   23   who advanced Postmates’s fees with the intent of recovering those fees before an
   24   arbitrator, Postmates had failed to pay its share of the initial filing fee necessary to
   25   commence the February Petitioners’ arbitrations. AAA further stated that it “will
   26   decline to administer any future cases involving” Postmates, and that Postmates was
   27   required to “remove [AAA’s] name from its arbitration agreement so there is no
   28   confusion to the public.” A true and correct copy of that email is attached at WP024.

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    1         18.      The next day, Petitioners’ counsel sought confirmation that, although
    2   AAA stated it would no longer administer arbitrations for Postmates, “AAA will
    3   administer future arbitrations if a court compels Postmates to arbitrate under the
    4   terms of an agreement calling for arbitration before AAA.” A true and correct copy
    5   of that email is attached at WP025.             AAA confirmed Petitioners’ counsel
    6   understanding, stating “That is correct. The AAA will abide by a court order
    7   compelling arbitration before the AAA.” A true and correct copy of that email is
    8   attached at WP026.
    9   C.    Postmates Works With a Plaintiffs’ Firm That Has Not Been Appointed
   10         Class Counsel to Pursue a Prohibited Class Action.
   11         19.      On July 19, 2019, Postmates conducted a mediation with another law
   12   firm, Lichten & Liss-Riordan, who is counsel in Rimler v. Postmates (Case No. CGC-
   13   18-567868) in the Superior Court of the State of California For the County of San
   14   Francisco. See Decl. of Shannon Liss-Riordan ¶ 7 (Oct. 8, 2019). Rimler was
   15   originally a PAGA only action Id. ¶ 4.
   16         20.      On October 8, 2019, LLR moved for preliminary approval of
   17   “settlement-only” class. See generally Pls.’ Mot. for Preliminary Approval of Class
   18   Action Settlement (Oct. 8, 2019). The motion asks the state court to certify a
   19   settlement releasing not only the PAGA claims to which Rimler was originally
   20   limited, but also the individual claims of all California couriers, including Petitioners,
   21   whom Postmates knows are already represented by counsel and have filed individual
   22   actions. Id.
   23         21.      The Rimler court has raised a host of “concerns” regarding the fairness
   24   of that settlement and the degree to which it fails to protect absent class members,
   25   and has required additional rounds of briefing to address those concerns. See Order
   26   re Mot. for Preliminary Approval of Class Settlement (Nov. 26, 2019); Order After
   27   Hearing Re Plaintiffs’ Continued Mot. for Preliminary Approval (May 5, 2020).
   28         22.      A true and correct copy of the current version of the proposed settlement

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    1   agreement is attached at WP027–74. It contains the following relevant terms:
    2               • The proposed settlement purports to prohibit class members who are
    3                 represented by counsel from authorizing their counsel to sign an opt-out
    4                 form on their behalf. § 7.1. And even if a class member personally signs
    5                 an opt-out form, the settlement suggests counsel could not assist a class
    6                 member in submitting his or her opt-out form. Id.
    7               • It seeks to release the claims of approximately 411,000 California
    8                 couriers for $11.5 million. § 2.44. After deducting LLR’s proposed
    9                 fees of $3.83 million, § 2.38, PAGA penalties of $187,500, § 2.23,
   10                 service awards to lead plaintiffs of $25,000, §§ 2.24, 2.32, and
   11                 settlement administration fees of $450,000, § 2.35, each class member
   12                 would receive an average of $34.08 (assuming a 50% participate rate),
   13                 an order of magnitude less than the amount each Petitioner already
   14                 satisfied to file her claims at AAA.
   15                                             ***
   16         23.     On April 21, I informed counsel for Postmates that Keller Lenkner
   17   intended to file a motion to compel on behalf of clients whose arbitrations had been
   18   closed as a result of Postmates’s failure to pay its filing fees. In May of 2019,
   19   Postmates sent revised arbitration agreements to our clients directly and required
   20   them to sign the agreement as a condition of continuing to work for Postmates. I was
   21   accordingly concerned that Postmates might attempt to moot our motion by sending
   22   our clients an agreement that purported to eliminate their right to arbitrate at AAA,
   23   which was the subject of the forthcoming motion to compel. I therefore reminded
   24   counsel for Postmates that it would violate Rule 4.2 of the California Rules of
   25   Professional Conduct if they attempted to send a binding legal agreement directly to
   26   our clients, whom they know are represented by counsel.
   27         24.     On April 22, counsel for Postmates confirmed that Postmates intended
   28   to send our clients a new agreement that they would have to sign as a condition of

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    1   continued to work for Postmates and that would potentially eliminate their right to
    2   arbitrate at AAA. I replied to reiterate our position that this would violate Rule 4.2
    3   and stated that we would be willing to confer regarding how to proceed with
    4   individual arbitrations of those clients claims, which would obviate the need for our
    5   motion.
    6          25.    On April 24, counsel for Postmates stated that they would be willing to
    7   send us a draft agreement and schedule a call to confer about how to proceed,
    8   provided we treated the draft agreement as confidential.
    9          26.    On April 25, I confirmed the that we would treat the draft agreement as
   10   confidential and asked counsel for Postmates to tell me when they could be available
   11   for a call.
   12          27.    Having received no response from counsel for Postmates, I followed up
   13   by email on May 19, repeated that we would be filing a motion to compel, and asked
   14   to confer.
   15          28.    On May 21, my partner, Ashley Keller, and I participated in a phone
   16   discussion with counsel for Postmates, Dhananjay Manthriprgada, James Fogelman,
   17   and Shaun Mathur. On the call, Mr. Manthripragada said Postmates was interested
   18   in discussing a process and arbitral forum through which the parties could resolve
   19   their claims in individual arbitration.        In response to my questions, Mr.
   20   Manthripragada said Postmates is willing to commence individual arbitrations with
   21   all of Keller Lenkner’s clients, and to have all of their arbitrations promptly assigned
   22   to arbitrators right away.
   23          29.    This was surprising to me, as Postmates has refused for the better part
   24   of a year to proceed with more than 150 arbitrations at AAA. Mr. Keller and I
   25   responded that, if Postmates is now willing to engage in such a process, it should do
   26   so at AAA under the rules required by the Fleet Agreement. Postmates was not
   27   willing to agree to this on the phone in part because Mr. Fogelman believed AAA
   28   would not administer future arbitrations involving Postmates absent a judicial order

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    1   compelling arbitration. But Mr. Fogelman suggested that we send Postmates a
    2   proposal in writing.
    3         30.    On May 22, I sent counsel for Postmates the following proposal:
    4         Postmates should pay the filing fees AAA required for the remaining
              Adams Petitioners so that AAA can immediately assign those
    5         arbitrations to arbitrators. That will result in individual arbitration of
              each claimant’s claims. It will be the precise process agreed to under
    6         the parties’ agreements and ordered by a federal court. And AAA has
              made clear that it will administer those arbitrations. Indeed, taking your
    7         statements yesterday at face value, we do not understand Postmates’s
              refusal to move forward with the Adams claimants. If Postmates now
    8         concedes that it is possible to conduct thousands of individual
              arbitrations at once without producing a “de facto class arbitration,” then
    9         the only objection Postmates could have to individual arbitration at
              AAA is that AAA’s fees are too high. That is plainly not a legitimate
   10         objection given that Postmates agreed by contract to arbitrate at AAA
              under AAA’s Rules and fee schedule.
   11
              If Postmates pays the filing fees to proceed with the remaining Adams
   12         Petitioners, we will happily discuss a similar process for our remaining
              clients. But if Postmates will not comply with its agreement even when
   13         it is under a federal court order to do so, we respectfully do not believe
              you when you say Postmates is interested in commencing individual
   14         arbitration with all of our clients in the manner required by the Fleet
              Agreement. For this same reason, we do not think it is in the interests
   15         of our clients to delay their motion to compel arbitration when
              Postmates has to date shown no willingness to engage in individual
   16         arbitration with each client as required by the Fleet Agreement
              voluntarily.
   17
   18         31.    Postmates did not accept Petitioners’ offer. Because Postmates was not
   19   willing to commit to arbitrate with the Adams Claimants for whom Postmates is under
   20   a federal court order to do so, Claimants informed Postmates that they do not trust
   21   Postmates’s counsel when they say “Postmates is interested in commencing
   22   individual arbitrations with all of [Keller Lenkner’s] clients in the manner required
   23   by the Fleet Agreement.” Claimants informed Postmates that they were at an
   24   “impasse.”
   25         32.    A true and correct copy of the email chain described in Paragraphs 23–
   26   31 is attached at WP121–29.
   27         33.    A true and correct copy of Postmates’s Motion to Compel Arbitration
   28   filed in Winns v. Postmates Inc. (Case No. CGC-17-562282) filed in the California

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    1   Superior Court in San Francisco County on January 23, 2018 is attached at WP075–
    2   95.
    3         34.   A true and correct copy of the California Senate Judiciary Committee’s
    4   Report on Senate Bill 707 is attached at WP096–108.
    5         35.   A true and correct copy of the California Assembly Committee on
    6   Judiciary’s Report on Senate Bill 707 is attached at WP109–120.
    7
    8   I affirm that the foregoing is true under penalty of perjury under the laws of the
    9   United States.
   10
   11   Signed on May 22, 2020 in Arlington, Virginia.
   12
                                                    /s/ Warren Postman
   13                                               Warren Postman
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    1                                  PROOF OF SERVICE
    2         At the time of service, I was over 18 years of age and not a party to this action.
    3   I am employed in Washington, D.C. My business address is 1300 I Street N.W., Suite
    4   400E, Washington, D.C. 2005. On March 22, 2020, I served true copies of the
    5   following document(s) described as:
    6      • EXHIBITS TO THE DECLARATION OF WARREN POSTMAN IN
    7         SUPPORT        OF     CROSS-PETITIONERS’               MOTION   TO     COMPEL
    8         ARBITRATION (WP_UNREDACTED_010–15)
    9   on the interested parties in this action as follows:
   10
              THEANE EVANGELIS, SBN 243570
   11          tevangelis@gibsondunn.com
              DHANANJAY S. MANTHRIPRAGADA, SBN 254433
   12
              dmanthripragada@gibsondunn.com
   13         GIBSON, DUNN & CRUTCHER LLP
              333 South Grand Avenue
   14
              Los Angeles, CA 90071-3197
   15         Telephone: 213.229.7000
              Facsimile: 213.229.7520
   16
   17         MICHELE L. MARYOTT, SBN 191993
                mmaryott@gibsondunn.com
   18
              SHAUN A. MATHUR, SBN 311029
   19           smathur@gibsondunn.com
   20         GIBSON, DUNN & CRUTCHER LLP
              3161 Michelson Drive
   21         Irvine, CA 92612-4412
   22         Telephone: 949.451.3800
              Facsimile: 949.451.4220
   23
   24
              [ X ] (BY E-MAIL) I caused the foregoing documents to be sent to the
   25
        persons at the electronic notification addresses listed above (or on the attached
   26
        service list). I did not receive, with a reasonable time after the transmission, any
   27
        electronic message or other indication that the transmission was unsuccessful.
   28

                                           PROOF OF SERVICE
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    1
    2         [ X ] (BY MAIL) By causing the placement of the envelope for collection
    3   and mailing following our ordinary business practices. I am readily familiar with
    4   firm's practice of collection and processing correspondence for mailing. Under that
    5   practice it would be deposited with U.S. postal service (or its equivalent) on that same
    6   day (or if outside business hours, the next available business day) with postage
    7   thereon fully prepaid.
    8
    9   I affirm that the foregoing is true under penalty of perjury under the laws of the
   10   United States.
   11
   12   Signed on May 22, 2020 in Arlington, Virginia.
   13
   14
                                                        /s/ Warren Postman
   15                                                   Warren Postman
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                                           PROOF OF SERVICE
                                        CASE NO. 2:20-cv-02783-PSG
